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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       Case No. 22-14102-Civ-MIDDLEBROOKS/MCCABE


  DONALD J. TRUMP,

          Plaintiff,

  vs.

  HILLARY R. CLINTON, et al.,

        Defendants.
  _________________________________/

                                      ORDER OF RECUSAL

          Pursuant to 28 U.S.C. § 455 and the Court’s Internal Operating Procedures, the undersigned

  U.S. Magistrate Judge hereby recuses himself and refers this matter to the Clerk of Court for

  reassignment.

          DONE and ORDERED in Chambers in West Palm Beach, Florida, this 6th day of April,

  2022.




                                                              RYON M. MCCABE
                                                              U.S. MAGISTRATE JUDGE
